Case 2:10-cr-20290-RHC-MAR ECF No. 12, PageID.20 Filed 06/30/10 Page 1 of 6




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA

                      Plaintiff,
v.
                                                   CASE NO: 10-CR-20290
HUGH DEJUAN GRIER,

                      Defendant.
                                     /

        ORDER AMENDING STANDING ORDER FOR DISCOVERY AND
                    INSPECTION IN CRIMINAL CASES;
      AND GIVING NOTICE OF CERTAIN PRETRIAL AND TRIAL PRACTICES

       The court finds that certain amendments to Administrative Order No. 03-AO-027 trial

preparation directives will better assist in the effective administration of this case.

       IT IS HEREBY ORDERED that Administrative Order No. 03-AO-027 is amended in

certain respects for the purposes of this case as stated in Appendix 1 to this Order.

Counsel shall organize their trial preparation as stated in Standing Order No. 03-AO-027

on Criminal Practice" consistent with this court’s amendments thereto. Counsel should also

see the Court’s website for further information: <http://www.mied.uscourts.gov/index.html>,

then “Local Rules/Practices,” then “Practice Guidelines”

       IT IS FURTHER ORDERED that counsel shall take notice of the court's intended

practices, outlined in Appendix 2 to this Order, concerning pretrial, voir dire, jury selection,

trial practices, final pretrial and guilty plea cutoff, and sentencing.

                                            S/Robert H. Cleland
                                            ROBERT H. CLELAND
                                            UNITED STATES DISTRICT JUDGE
Date: June 30, 2010
Case 2:10-cr-20290-RHC-MAR ECF No. 12, PageID.21 Filed 06/30/10 Page 2 of 6




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

                                        APPENDIX 1

        AMENDMENTS TO STANDING ADMINISTRATIVE ORDER 99-AO-003
                        ON CRIMINAL PRACTICE

      The references in this Appendix to "section" numbers are to the sections of the
Standing Order.

       1)     Section 5(a) (MARKING OF EXHIBITS):

        Exhibits shall be designated with the government using numbers beginning with
"101" and the defense using numbers beginning with "501." In the event of an extraordinary
number of exhibits or in the event of more than one defendant, counsel shall discuss and
recommend to the court before trial a reasonable alteration to the numbering system
described.
        The list required under Section 5(a) of the Standing Order should be submitted not
later than the morning of jury selection, but the listing submitted may be ex parte as to
items other than Rule 16, if in the good faith opinion of counsel there is a reasonable basis
for doing so, until the item is identified in court.
        Counsel for the government is urged to make reasonable efforts to reach agreement
with other counsel concerning the admissibility of each intended physical exhibit. In the
event such agreement is reached, a list of such exhibits is to be prepared by government
counsel for entry at the opening of trial, and the exhibits will be considered admitted at the
outset.

       2)     Sections 5(b), 6 and 7 (OBJECTIONS TO FOUNDATIONAL ISSUES):

        In the event defense counsel chooses to file a notice of intent to contest foundation,
chain-of-custody or scientific analysis, such notice shall be filed not later than 7 days
before trial. Unless such items or possible exhibits are unusually voluminous, the notice
shall provide a brief exhibit-by-exhibit or item-by-item description of the good faith basis for
any such objection. A statement which says nothing more than "defendant contests the
foundation" is insufficient. The statement of the good faith basis for any objection may be
ex parte if in the opinion of counsel there is a reasonable basis for doing so.
        In the event that such items or possible exhibits are unusually voluminous, counsel
for the defense shall, as early as is possible, give notice to the court and the government
of the expected difficulty in providing the specific objection otherwise required, and seek
the assistance first of the government, then of the court, in resolving the matter.




                                               2
Case 2:10-cr-20290-RHC-MAR ECF No. 12, PageID.22 Filed 06/30/10 Page 3 of 6




       3)     Section 10 (JURY INSTRUCTIONS):

        Counsel for the government is directed to draft proposed instructions which identify
the elements of the offense in the form of 6th Circuit pattern instruction 2.02, and to draft
any other "non-standard" instruction requests. Counsel for the defense shall also draft any
"non-standard" instructions intended to be requested. Other instructions may be requested
of the court by either party simply by reference to pattern instruction number.
        "Elements" instructions proposed by the government, and proposed special
instructions by both counsel shall be circulated among counsel with a reasonable
opportunity given for reaction and possible stipulation. All such drafting and reaction shall
be concluded in time for submission of stipulated and requested instructions before the
jury selection is scheduled to commence. The court intends to produce in chambers the
final set of instructions.
        Counsel must submit proposed instructions by e-mail attachment consistent with
WordPerfect.

       4)     Section 11 (MOTION TIME LIMITS):

      The court's practice is to set appropriate motion cut-off dates in a scheduling order.
The stringency of those limits generally varies with the complexity of the case and the
completeness of voluntary government discovery. Counsel are reminded to seek
concurrence under Local Rule 7.1(b) and to explain in reasonable detail the results of
counsel’s efforts before filing any motion. Failure to do so will ordinarily result in a
summary denial of the motion.




                                             2
Case 2:10-cr-20290-RHC-MAR ECF No. 12, PageID.23 Filed 06/30/10 Page 4 of 6




                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

                                             APPENDIX 2

                     FINAL PRETRIAL; VOIR DIRE; JURY SELECTION
                        AND TRIAL PRACTICES; SENTENCING 1

        1)      FINAL PRETRIAL AND CHANGE-OF-PLEA DEADLINE

       The court does not ordinarily accept a negotiated2 plea of guilty after the final pretrial
and change-of-plea cutoff conference date. Accordingly, unless a signed Rule 11
agreement is in hand before that time, the attorneys for the parties are hereby directed as
follows:

                a) Each trial attorney and defendant must personally appear in court at the
                noticed date and time. The defendant must be prepared to proceed with the
                guilty plea if such is intended.
                b) In the event that the defendant chooses to proceed to trial, the court will
                ask the government to set forth on the record any proffered plea agreement
                and the government’s view of the calculation of sentencing guidelines if the
                proffered agreement were accepted as opposed to a conviction at trial. The
                court will address the defendant on the record and insure that the decision
                to proceed to trial was made after adequate consultation with counsel and
                that the decision represents the defendant’s knowing and voluntary choice.

                c) Counsel must be prepared to conduct the Final Pretrial Conference, and
                to discuss at least the following areas:
                       i)      Evidence stipulations or problems
                       ii)     Instruction stipulations or problems
                       iii)    Unresolved motions
                       iv)     Number of witnesses and estimated time for presentation of
                               the case


         1
            More detailed information is available at the the Court’s website:
<http://www.mied.uscourts.gov/index.html>, then “Local Rules/Practices,” then “Practice Guidleines”
        2
           A "negotiated" plea is one that contains any restrictions regarding sentencing under Rule 11, a
significant reduction in the number of counts alleged, a 5K1.1 provision or any other concessions by the
government that could impinge upon the court's sentencing authority or discretion. The court ordinarily does
not accept plea agreements under Rule 11(c)(1)(C), but readily accepts agreements under Rule 11(c)(1)(B)
that include non-binding sentencing recommendations; the court also generally accepts plea agreements that
contemplate well-founded 5K1.1 departures. Although 11(c)(1)(B) sentencing recommendations are not
binding, the court nonetheless gives them careful consideration, and often agrees.

                                                     1
Case 2:10-cr-20290-RHC-MAR ECF No. 12, PageID.24 Filed 06/30/10 Page 5 of 6




                     v)     Estimated time for opening statements
                     vi)    Agreement on juror-proposed questions

       2)     VOIR DIRE:

              It is the court's practice to conduct voir dire questioning of the jury panel.
       Counsel must submit any questions they may wish to request in writing to the court
       not later than the end of the business day two days before jury selection is
       scheduled to commence. Question requests submitted on the morning of trial will
       generally not be considered by the court.

       3)     JURY SELECTION METHOD: JURY TRIAL PRACTICES

                a)    The court will use a “struck jury” system for jury selection. A detailed
       written description of this method is available from chambers and on the Court’s
       website. Ordinarily the court will select twelve regular and two alternate jurors.
       Principal peremptory challenges must be used to select the twelve, and the
       additional peremptory used separately to select the alternates. Alternate jurors are
       ordinarily told that they are alternates.
                b)    At trial, the court generally gives to the jury a copy of the indictment
       as a guide to the case the government is required to prove. Therefore, counsel for
       the government ordinarily produces a "sanitized" version of the indictment redacted
       of all language referring to the Grand Jury and any other irrelevant or potentially
       prejudicial matter.
                c)    The jury will be allowed to take notes. The jury will ordinarily be
       allowed to submit written proposed clarification questions of witnesses at the
       conclusion of the testimony. Any such questions will be reviewed by the court and
       counsel out of the hearing of the jury, with counsel having the opportunity to object
       to the substance of the question. The court then asks the question on behalf of the
       juror, and counsel are given an opportunity for pertinent follow-up questions. Caution
       is exercised during this process, and the court specifically instructs the jury in
       advance on these issues. See the Court’s website for further specifics. Any
       objection to this procedure or suggestions for alteration must be stated in advance
       of trial.

       4)     SENTENCING PROCEDURES

        In the event of a conviction a presentence report will be prepared in the regular
course of business and counsel will respond pursuant to Rule 32, Fed. R. Crim. P., and any
applicable Local Rule of this court. The procedures to be used in preparation for sentencing
will be set forth in a separate order, and will include the following:
                a)     In the event that a party identifies objections (controverted items)
        which are not accepted by the probation officer, and which are therefore to be
        resolved by the court, both parties shall prepare to respond in writing. Although a


                                              2
 Case 2:10-cr-20290-RHC-MAR ECF No. 12, PageID.25 Filed 06/30/10 Page 6 of 6




           more detailed order for response may be forthcoming from chambers on a case-by-
           case basis, the non-objecting party shall respond to each objection, setting forth the
           party's position in agreement or disagreement with the objection, and specifying at
           least these things:
                          i) The factual or legal basis on which the response rests.
                          ii) Whether or not the party intends to present witnesses in support of
                   a sentencing position.
                          iii) If witnesses are intended, the name of each witness should be
                   given along with a brief statement showing the controverted item to which the
                   witness's testimony applies, the substance of the witness's intended
                   testimony (expressed in one or two sentences), and an estimate of the time
                   required to present the witness's testimony.
                   b)     Counsel must avoid “objecting” to presentence report notations which
           are nothing more than mechanical or arithmetic calculations under the guidelines,
           the resolution of which depend on other factual items.
                   c)     Any motion for a departure from the calculated range based upon
           Sentencing Guidelines factors, or motion for a sentencing variance based upon 28
           U.S.C. § 3553(a) factors must be stated in writing and filed not fewer than twenty-
           one days before sentencing. Provide a copy to the Probation Officer. The
           opposing party must file a response not fewer than seven days before
           sentencing. A decision on a departure motion will ordinarily be announced before
           sentencing. Oral argument may be invited by the court in some cases.
                   d)     Any sentencing memorandum must be filed not fewer than twenty-
           one days before sentencing.
                   e)     Unless otherwise permitted for reasonable cause, allocution will not
           exceed eight minutes for defendant’s counsel, five minutes for defendant and eight
           minutes for government counsel.




(Rev 10/03) S:\Cleland\LISA\Criminal\CriminalStandingOrder.7.wpd
                                                                   3
